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                                  #:4238


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 8

 9                         UNITED STATES DISTRICT COURT
10                        CENTRAL DISTRICT OF CALIFORNIA
11                                 SOUTHERN DIVISION
12
     IN-N-OUT BURGERS, a California                 Case No. 8:17-cv-1474-JVS-DFM
13   corporation,
                                                    [PROPOSED] ORDER GRANTING
14                        Plaintiff,                PLAINTIFF AND
                                                    COUNTERDEFENDANT IN-N-
15            vs.                                   OUT BURGERS’ MOTION FOR
                                                    PARTIAL SUMMARY
16   SMASHBURGER IP HOLDER LLC, a                   JUDGMENT RE
     Delaware limited liability company; and        RESPONSIBILITY OF NAMED
17   SMASHBURGER FRANCHISING LLC,                   DEFENDANTS FOR USE OF
     a Delaware limited liability company,          MARKS, SLOGANS, AND
18                                                  ADVERTISING MATERIALS
                           Defendants.
19

20   SMASHBURGER IP HOLDER LLC,                     Date:      April 8, 2019
     and SMASHBURGER FRANCHISING                    Time:      1:30 p.m.
21   LLC,                                           Courtroom: 10C
22                         Counterclaimants,        Judge: Hon. James V. Selna
23            vs.
24   IN-N-OUT BURGERS,
25                         Counterdefendant.
26

27

28
                                                     [PROPOSED] ORDER GRANTING PLAINTIFF IN-N-OUT BURGERS’
                                                                   MOTION FOR PARTIAL SUMMARY JUDGMENT
                                                                                 Case No 8:17-cv-1474-JVS-DFM
     4829-0410-8936.v1
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 1            The Court, having considered the motion (the “Motion”) of Plaintiff and
 2   Counterdefendant In-N-Out Burgers (“In-N-Out”) pursuant to Fed. R. Civ. P. 56 for
 3   partial summary judgment as to the responsibility of Defendants and
 4   Counterclaimants Smashburger IP Holder LLC (“Smashburger IP”) and
 5   Smashburger Franchising LLC (“Smashburger Franchising”) for the use of the
 6   TRIPLE DOUBLE marks and the “Double the Beef” slogans and advertising
 7   materials in connection with the sale of Triple Double burgers at Smashburger
 8   company and franchise restaurants, on each of the claims for relief asserted in the
 9   Second Amended and Supplemental Complaint [Dkt. 117] filed by In-N-Out on
10   September 21, 2018, and good cause appearing, the Court GRANTS the Motion and
11   finds that there is no genuine issue of material fact on the following element of In-N-
12   Out’s claims for relief and that In-N-Out is therefore entitled to judgment as a matter
13   of law as to such element:
14                       (1)   Smashburger IP is responsible for the use of the TRIPLE
15            DOUBLE marks and the “Double the Beef” slogans and advertising
16            materials in connection with the sale of Triple Double burgers at
17            Smashburger company and franchise restaurants; and
18                       (2)   Smashburger Franchising is responsible for the use of the
19            TRIPLE DOUBLE marks and the “Double the Beef” slogans and
20            advertising materials in connection with the sale of Triple Double
21            burgers at Smashburger franchise restaurants.
22            Good cause appearing, IT IS SO ORDERED.
23

24   Dated: April __, 2019
25
                                           Honorable James V. Selna
26                                         United States District Judge
27

28
                                                     -2-
                                                            [PROPOSED] ORDER GRANTING PLAINTIFF IN-N-OUT BURGERS’
                                                                          MOTION FOR PARTIAL SUMMARY JUDGMENT
                                                                                        Case No 8:17-cv-1474-JVS-DFM
     4829-0410-8936.v1
